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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 E.R., BY AND THROUGH HER                                            CIVIL ACTION
 MOTHER, B.R.
                                                                     NO. 20-3112
 VERSUS
                                                                     SECTION M (1)
 CABRINI HIGH SCHOOL, INC.


                                              ORDER

       Considering plaintiff’s motion (R. Doc. 15) seeking authorization for B.R, on behalf of her

minor daughter, E.R., to enter the proposed settlement agreement (R. Doc. 15-1), and the record,

the Court finds that B.R. is acting in E.R.’s best interest, and thus,

       IT IS ORDERED that the motion to approve B.R.’s settlement of the claims on E.R.’s

behalf is GRANTED.

       New Orleans, Louisiana, this 26th day of March, 2021.




                                                       ________________________________
                                                       BARRY W. ASHE
                                                       UNITED STATES DISTRICT JUDGE
